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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
|                                       AMARILLO DIVISION

|     AMERICAN HEALTH CARE
      ASSOCIATION, et al.,
}                 Plaintiffs,

      v.                                                              2:24-CV-114-Z-BR (lead)
                                                                      2:24-CV-171-Z (consolidated)
      ROBERT F. KENNEDY, JR.., et ai.,

                  Defendants.                                                                               ;

                                              JUDGMENT

            The   Court    GRANTED     Plaintiffs’ Motion      for Summary      Judgment   and DENIED

     Defendants’ Cross-Motion for Summary Judgment. Accordingly, the staffing requirements in the

     Final Rule published in 89 Fed. Reg. 40876 (May 10, 2024) and codified at 42 C.F.R. Section

     483.35(bX1) and 483.35(c) are VACATED       per 5 U.S.C. Section 706(2). This case is therefore

     DISMISSED with prejudice. Judgment is rendered accordingly.

            SO ORDERED.                                                                                         |
            April 7, 2025

                                                            MAT£HEW     J. KACSMARYK                            |
|                                                                     D STATES DISTRICT JUDGE
